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                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO

                                               )
 VOTE SOLAR, MICHAEL EISENFELD,                )
 JAMES NEIDHART, JEFFREY                       )
 NEIDHART, STEVEN BAIR, NEIL                   )
 TRIBBETT, JERRY KNUTSON, VICKIE               )
 SLIKKERVEER, THE COLISEUM, INC.               )
 (D/B/A THE COLOSSEUM GYM),                    )
 DAVID FOSDECK, STEPHEN ELLISON,               )
 AND ERIN HOURIHAN,                            )
                                               )
             Plaintiffs,                       ) CASE NO. 1:19-cv-00753-MIS-CG
                                               )
        v.                                     )
                                               )
 CITY OF FARMINGTON, NEW                       )
 MEXICO, D/B/A FARMINGTON                      )
 ELECTRIC UTILITY SYSTEM,                      )
                                               )
             Defendant.                        )

                                  JOINT STATUS REPORT

       Pursuant to the December 7, 2021 Order Extending Stay of Proceedings (“December 7

Order”) issued by the Honorable Carmen E. Garza, Chief United States Magistrate Judge,

Plaintiffs Vote Solar, Michael Eisenfeld, James Neidhart, Jeffrey Neidhart, Steven Bair, Neil

Tribbett, Jerry Knutson, Vickie Slikkerveer, The Coliseum, Inc., David Fosdeck, Stephen

Ellison, and Erin Hourihan (collectively, “Plaintiffs”) and Defendant City of Farmington, New

Mexico, d/b/a Farmington Electric Utility System (“Defendant”) (collectively, the “Parties”)

submit the following Joint Status Report.



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       The December 7 Order provided “that all discovery and case deadlines shall be further

stayed until February 18, 2022.” In addition, the December 7 Order required the Parties, “on or

before February 18, 2022, [to] provide a status report indicating whether the stay should be further

extended or that these proceedings should move forward.”

       The Parties propose the Court further extend the stay of proceedings until May 6, 2022, at

which time the Parties request that the Court require that the Parties submit a further status report

indicating whether the stay should be further extended or that these proceedings should move

forward.

        As described in the Parties’ September 9, 2021 and December 6, 2021 Joint Status

Reports, Defendant is performing a Cost of Service and Rate Study (“Study”) in anticipation of

revision of its retail electric rates. Defendant continues to represent that the outcome of this

Study is likely, although not guaranteed, to result in retail electric rates that do not include the

Standby Service Riders challenged in Plaintiffs’ Complaint. If that occurs, it may moot or

significantly alter the disputes in this case and render discovery and motions related to the

Standby Service Riders no longer relevant. It could also reduce the differences between the

Parties, making settlement more likely. As such, a stay pending the anticipated change to

Defendant’s rates would promote judicial economy by avoiding or reducing discovery and

further judicial activity that may become unnecessary. Additionally, continuing the stay of

proceedings will allow attention and resources to be given to development and discussion

involving the Study rather than to litigation.



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       Defendant made an initial presentation of a draft rate design to its Public Utility

Commission on February 9, 2022. That draft rate design does not include the Standby Service

Rider that is in controversy in Plaintiffs’ Complaint. The anticipated timeline contemplates

concluding a Public Utility Commission and City Council process by the end of April.

Continuation and conclusion of the public process will help the Parties decide whether they will

request the Court to further extend the stay of proceedings or to lift the stay and direct the

resumption of discovery, case deadlines, and associated proceedings.

       For the above stated reasons, the Parties further respectfully request that the Court accept

this Joint Status Report and extend the stay of proceedings until and including May 6, 2022 and

to direct the submission of a further joint status report on or before May 6, 2022.



DATED: February 16, 2022




                                               APPROVED

                                               ____David C. Bender___________________
                                               For Plaintiff

                                               ____Sean M. Neal__________________
                                               For Defendant (pro hac vice)




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                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 16th day of February, 2022, the foregoing

Joint Status Report was electronically filed with the Clerk of Court using the CM/ECF system

that will send notification of such filing to all counsel of record.


                                               By: /s/ Sean M. Neal

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